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 United States Bankruptcy Court for the:
                           District of    Delaware
                                         (State)
 Case number ~~rknown>:                                       Chapter 11                                                                   ❑ Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



~. Debtor's name                               32E Productions LLC


2. All other names debtor used
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



s. Debtor's federal Employer                  4 7- 3 5 3 2 3 8 1
   Identification Number(EIN)


a. Debtor's address                           Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                               870 Remington Drive                                          870 Remington Drive
                                              Number         Street                                        Number      Street

                                                                                                            P.O. Box 700
                                                              __        _        _        _         _      P.O. Box                   __       _._

                                                   Madison                     NC       27025                Madsion                   NC            27025
                                              City                             State     ZIP Code          City                        State         ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                               Rockingham County
                                              County
                                                                                                           Number        Street




                                                                                                           City                        State         ZIP Code




s. Debtor's website (URL)                          None

                                                                                                                             Partnership (LLP))
                                               ~ Corporation (including Limited Liability Company(LLC) and Limited Liability
6. Type of debtor
                                               ❑ Partnership (excluding lLP)
                                               ❑ Other. Specify:



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Debtor        32E Productions, LLC                                                              Case number~rrp
             Name


                                       A. Check one:
~. Describe debtor's business
                                       ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       ❑ Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                       ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                       ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above


                                       B. Check all that apply:

                                       ❑ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       ❑ Investment corrfpany, including hedge fund or poo{ed investment vehicle (as defined in 15 U.S.C.
                                         § 80a-3)
                                       ❑ Investment advisor(as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor. See
                                          http://www.naics.com/search/ .
                                            3   3      2      9

s. Under which chapter of the          Check one:
   Bankruptcy Code is the
                                       ❑Chapter 7
   debtor filing?
                                       ❑ Chapter 9
                                           Chapter 11. Check all that apply:
                                                           ❑ Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are Tess than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                           ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if alI of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                           I~ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § '1126(b).

                                                             ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities.
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 71 (Official Form 201 A) with this form.

                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                        ❑ Chapter 12

 s. Were prior bankruptcy cases         ~ No
    filed by or against the debtor                                                         When                      Case number                         _
    Within the last 8 years?            ❑Yes. District
                                                                                                  MM / DD / YYYY
     If more than 2 cases, attach a               District                                 When                      Case number
     Separate list.                                                                               MM / DD / YYYY


 ~o. Are any bankruptcy cases           ❑ No
     pending or being filed by a                                                                                   _Relationship                         _
     business partner or an             ~ Y2S. Debtor S@0 attBCll@CI IISt
     affiliate of the debtor?                     District                                                           wren
                                                                                                                                   MM I DD i YYYY
     List all cases. If more than 1,
     attach a separate list.                      Case numder, if known

                                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 2
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Debtor       32E Productions, LLC                                                        Case number



~~. Why is the case filed in this   Check all that apply:
    district?
                                    ~l Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                       district.

                                    6~ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


~2. Does the debtor own or have     I~j No
    possession of any real          ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
    attention?
                                             ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?

                                             ❑ It needs to be physically secured or protected from the weather.

                                              ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                assets or other options).

                                              ❑ Other



                                              Where is the property?,
                                                                        Number          Street



                                                                        City                                             State      ZIP Code


                                              Is the property insured?
                                              ❑ No
                                              ❑ YeS. Insurance agency ,

                                                       Contact name

                                                       Phone



            Statistical and administrative information



 ~s. Debtor's estimation of          Check one:
     available funds                   Funds will be available for distribution to unsecured creditors.
                                     ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                       1-49                           ❑ 1,000-5,000                              ❑ 25,001-50,000
 ~a. Estimated number of             ❑ 50-99                          ❑ 5,001-10,000                             ❑ 50,001-100,000
     creditors                                                        ❑ 10,001-25,000                            ❑ More than 100,000
                                     ❑ 100-199
                                     ❑ 200-999

                                     G~   $0-$50,000                   ❑   $1,000,001-$10 million                ❑   $500,000,001-$1 billion
 ~s. Estimated assets                ❑    $50,001-$100,000             ❑   $10,000,001-$50 million               ❑   $1,000,000,001-$10 billion
                                     ❑    $100,001-$500,000            ❑   $50,000,001-$100 million              ❑   $10,000,000,001-$50 billion
                                     ❑    $500,001-$1 million          ❑   $100,000,001-$500 million             ❑   More than $50 billion




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                                                                                                 Case number ~rri,,,a,,,,~                        __
Debtor        3~
             ~:~,~

                                           $0-$50,000                           d X1,000,001-~10 million                     0X500,000,001-~1 billion
~s, Estimated liabilities.              0.$50,001-X100,040                      0 ~t0,000,fl01-$50 million                   0 51,000,(30D;001-~t0 billion
                                        0 $100,Q01-$500,000                     ❑ ~50,000,OOt-$100 million                   ❑ ~S10,COO,QOO,C01-$50 billion
                                        ❑ X500,001-$1 million                   0 ~100,OQ0,001-$S00 miliior,                 0 More than $50 billion




           Request for f3eli~f, Declaration, and aigna4ures


                                                                                                                 result in fines up to
WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can
          $500,000 or imprisonment   for up to 20 years, or both. 18 U.S.C. §§ 152, 7341, 1519, and 3571.


                                                                                                                                                   in this
t~. Declaration and signature of        ;,     Tha debtor requests relief in accordance with the chapter of Gtle 11, United States fade, specified
    authorised representative of               petition.
    debtor
                                        !~      I have been authorized to ilia this petition on behalf of the debtor,

                                                                                                                                                           and
                                        ~~      i have examined the information in this petition and have a reasonable belief that the information is true
                                               correct.


                                             declare under penairy of perjury that the foregoing is true and correct:

                                               Executed on ~~ ~`~~~`~"~'e
                                                                   b9M J DD / YYYY
                                                    ~,,,., w.,...w,,,._..., .,-
                                                              -~-~'~ ~                                       Stephen F', Jackson Jr.
                                               Signature of a~thorired representaGv ~Fd26tor                Printed name

                                               Title   Chief financial




~s. Signature 4fi afEorney                                                                                   Date
                                                Signs       of attorney for debtor                                           MM   / DD / YYYY



                                                Laura Davis Jones, Esq.
                                               Printed name
                                                Pachulski Stang Ziehl &Jones L:LP                                                  _________
                                               .Firm name
                                                919 Noah Market Street 17th Floor
                                               Number          Street
                                               1Nilmington                                             ~                  pE       S,g801               _..,,.
                                               City                                                               State            ZIP CodQ

                                                t342~ 652-410fl                      _.______                      I~anes a~pszjlaw.com
                                               Ccntact phone                                                      Email address



                                                ?436                                                                      DE_
                                               Bar number                                                         State




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                                            Schedule 1


                Pending Bankruptc~~ Cases Filed by the Debtors in this Caurt

       On the date hereof, each of the affiliated entities listed below (collectively, the
"Debtors")filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101 et seq., in the United States Bankruptcy Court for the District of
Delaware. Contemporaneously herewith, the Debtors are filing a motion requesting the joint
administration of these chapter 11 cases for procedural purposes only under the case number
assigned to Remington Outdoor Company, Inc.

        1.     Remington Outdoor Company, Inc.

        2.     FGI Holding Company,LLC

        3.     FGI Operating Company,LLC

        4.     Remington Arms Company,LLC

        5.      Barnes Bullets, LLC

        6.      TMRI,Inc.

        7.      32E Productions, LLC

        8.      Remington Arms Distribution Company, LLC

        9.      Great Outdoors Holdco, LLC

        10.     RA Brands, L.L.C.

        11.     Outdoor Services, LLC

        12.     FGI Finance, Inc.

        13.     Huntsville Holdings LLC
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                                    RESOLUTIONS
                            OF THE MANAGEMENT BOARD ~F

                                  32E PRODUCTIONS,LLC

                                         IVlarch 24,2018

       The members of the management board (collectively, the "Directors") of 32E
PRODUCTIONS, LLC, a limited liability company organized and existing under the laws of the
State of Delaware (the "Company"), hereby take the following actions and consent to the
adoption of the following preambles and resolutions (these "Resolutions").

       ~VI~iE~~iS,the Directors of the company have considered the financial and operational
condition of the Company;

       WHEREAS,such Directors have reviewed the historical performance and results of the
Company, the market in which the Company operates, its current and future liquidity needs, its
business prospects, and its current and long-term liabilities;

        WHEREAS,such Directors have reviewed the materials presented by its financial, legal,
and other advisors and have engaged in numerous and extensive discussions (including, without
limitation, with its management and such advisors) regarding, and have had the opportunity to
fully consider, the Company's financial condition, including its liabilities and liquidity position,
the strategic alternatives available to it, and the impact of the foregoing on the Company's
business and operations;

        WHEREAS,the board of directors of Remington Outdoor Company, Inc.("ROC"), the
beneficial owner of the Company, previously approved the form, terms and provisions of, and
the execution, delivery, and performance of, and, on February 1l, 2018, ROC entered into, that
certain restructuring support agreement (as amended, restated supplemented or otherwise
modified from time to time in accordance with the terms thereof, the "RSA"j, by and among (i)
ROC,(ii) FGI Operating Company, LLC ("FGI Opco"), (iii) the consenting term lenders under
that certain Term Loan Agreement, dated as of April 19, 2012, by and among FGI Opco, as
Borrower, FGI Holding Company LLC, as Holdings, the guarantors and lenders from time to
time party thereto, and Bank of America, N.A., as Agent, and (iv) the consenting holders ofthose
certain 7.875% Senior Secured Notes due 2020 pursuant to that Indenture, dated as of April 19,
2012, between FGI Opco and FGI Finance Inc., as Issuers, the guarantors named therein, and
Wilmington Trust, National Association, as Trustee and Collateral Agent;

        WHEREAS, such Directors have determined that, in furtherance of the RSA, it is
desirable and in the best interests of the Company and its respective creditors, equity holders,
employees and other parties-in-interest that the Company commence solicitation ("Solicitation")
of votes to obtain acceptances of the Joint Prepackaged Chapter 11 Plan of Remington Outdoor
Company, Inc. and its Affiliated Debtors and Debtors in Possession, dated March 22, 2018 (the
"Pre~acka~ed Plan");
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        WH~R~AS, such Directors have determined that, in furtherance of the Prepackaged
Plan, it is desirable and in the best interests of the Company and its respective creditors, equity
holders, employees, and other parties-in-interest that the Company file or cause to be filed a
voluntary petition (a "Voluntary Petition") for relief under the provisions of chapter 11 of title 11
ofthe United States Code (the "Bankruptcy Code"); and

        WHEREAS, in connection therewith, such Directors deem it advisable and in the best
interests of the Company to appoint Stephen P. Jackson, Jr. as Chief Financial Officer of the
Company.

                                            Solicitation

        BE IT RESOLVED that the Directors have determined that it is advisable and in the
best interests ofthe Company that the Company commence Solicitation;

       BE IT FURTHER RESOLVED that the senior officers of the Company (together, the
"Authorized Officers"), be, and each of them hereby is, authorized, empowered and directed to
take any and all action and perform any and all further deeds that they deem necessary or proper
to commence Solicitation;

                                         Chapter 11 Case

        BE IT FURTHER RESOLVED that Directors have determined that it is advisable and
in the best interests of the Company that the Company file, or cause to be filed, a Voluntary
Petition commencing the Chapter 11 Case (as defined below);

       BE IT FURTHER RESOLVED that the Authorized Officers, be, and each of them
hereby is, authorized, empowered, and directed to execute and file, or cause to be filed, with the
bankruptcy court, for the Company, all petitions, schedules, lists, motions, applications,
pleadings, and any other necessary papers or documents, including any amendments thereto, and
to take any and all action and perform any and all further deeds that they deem necessary or
proper to obtain chapter 11 bankruptcy relief or in connection with tie chapter 11 case of the
Company (the "Chapter 11 Case"), with a view to the successful prosecution of such Chapter 11
Case;

                                 Debtor in Possession I'inancin~

        BE IT FURTHER RESOLVED that, the Authorized Officers, and any employees or
agents (including counsel) designated by or directed by any such officers, be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,to, if
the Authorized Officers determine it to be necessary or appropriate, enter into senior, secured,
super-priority debtor in possession credit facilities, including the credit facilities contemplated by
(a)the "Term Sheet" attached as Exhibit A to that certain Commitment Letter, dated- as of March
8, 2018, by and among FGI Opco and the lenders party thereto, and (b)that certain "$193 million
DIP and Exit ABL Revolver Summary of Indicative Principal Terms and Conditions", dated on
or about the date hereof, by and among FGI Opco and the lenders party thereto, in each case, in
substantially the form as presented to the Directors (the "DIP Credit Facilities"), and any related
documents or instruments, each on terms and conditions agreed to by the Company, the lender

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and the agent and such other terms as are customary for similar debtor-in-possession facilities
and to cause the Company to grant a senior security interest in substantially all of its assets in
connection therewith, and to undertake any and all related transactions contemplated thereby;

        BE IT FURTI~ER RESOLVED that the authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,to, if
the Authorized Officers determine it to be necessary or appropriate, cause to be prepared, to
negotiate, execute, and deliver, and the Company is hereby authorized to perform its obligations
and take the actions contemplated under, the DIP Credit Facilities and such other documents,
agreements, guaranties, instruments, financing statements, notices, undertakings, certificates, and
other writings as may be required by, contemplated by, or in furtherance of the DIP Credit
Facilities, each containing such provisions, terms, conditions, covenants, warranties, and
representations as may be deemed necessary or appropriate by the Authorized Officers, and any
amendments, restatements, amendments and restatements, supplements, or other modifications
thereto, in each case with such changes therein and additions thereto (substantial or otherwise) as
shall be deemed necessary, appropriate, or advisable by any Authorized Officer executing the
same in the name and on behalf of the Company, such approval to be evidenced conclusively- by
such execution;

        BE IT FURTHER RESOLVED that the Company, as debtor and debtor in possession
under the Bankruptcy Code, be authorized, empowered, and directed to negotiate and obtain the
use of cash collateral or other similar arrangements, including, without limitation, to enter into
any guarantees and to pledge and grant liens on and claims against the Company's assets as may
be contemplated by or required under the terms of cash collateral agreements or other similar
arrangements, in such amounts as is reasonably necessary for the continuing conduct of the
affairs of the Company in the Chapter 11 Case and any of the Company's affiliates who may
also, concurrently with the Company's petition, file for relief under the Bankruptcy Code;

        BE IT FURTHER RESOLVED that the Company will receive substantial direct and
indirect benefits from the loans and other financial accommodations to be made under the DIP
Crcdit Facilities to the Company and its affiliates;

                                     Retention of Advisors

        ~E IT FURTHER 12ESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the law firm of Milbank, Tweed,
Hadley & McCloy LLP as general bankruptcy counsel to represent and advise the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance its
rights and obligations, including filing any pleadings in connection with the Chapter 11 Case and
with any post-petition financing; and in connection therewith, the Authorized Officers are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon filing of the Chapter 11 Case, and cause to
be executed and filed an appropriate application with the bankruptcy court for authority to retain
the'services of Milbank, Tweed, Hadley & McCloy LLP;

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Pachulski, Stang, Ziehl &

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Jones LLP as local counsel to represent and advise the Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Pachulski, Stang, Ziehl &Jones LLP;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Lazard Freres & Co. LLC
as investment banker to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Lazard Freres & Co. LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Alvarez & Marsal North
America, LLC as financial advisor to represent and assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance its rights and obligations
in connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Alvarez & Marsal North America,
LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Prime Clerk LLC as
notice, claims, and balloting agent to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, the Authorized Officers are hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Chapter 11 Case, and cause to be executed and
filed an appropriate application with the bankruptcy court for authority to retain the services of
Prime Clerk LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ any other professionals, including
attorneys, accountants, and tax advisors, necessary to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, the Authorized Officers are
hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to or immediately upon the filing of the Chapter 11 Case, and cause to
be executed and filed appropriate applications with the bankruptcy court for authority to retain
the services of any other professionals, as necessary;


                                                0
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                            Appointment of Chief Financial Officer

       BE IT FURTHER RESOLVED that as of the date hereof, that the following individual
is hereby appointed officer of the Company with the title set forth opposite his name, to hold
such office until his successor shall have been appointed or until his prior resignation or removal:

       Stephen P. Jackson, Jr.        Chief Financial Officer;

                             Other Authorization and Ratification

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
prosecute the Chapter 11 Case in a manner that in their business judgment is likely to maximize
the recovery for stakeholders in the Company and minimize the obligations incurred by the
Company;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
cause the Company to enter into, execute, deliver, certify, file, and/or record and perform such
agreements, instruments, motions, affidavits, applications for approvals or ruling of
governmental or regulatory authorities, certificates or other documents, and to take such other
action, as in the judgment of such officer shall be or become necessary, proper, and desirable to
prosecute to a successful completion the Chapter 11 Case, including, but not limited to,
implementing the foregoing Resolutions and the transactions contemplated by these Resolutions;

        BE IT FURTHER RESOLVED that Authorized Officers be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
supplement, or otherwise modify from time to time the terms of any documents, certificates,
instruments, agreements, or other writings referred to in the foregoing Resolutions; and

        BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name and on behalf of the
Company, which acts would have been approved by the foregoing Resolutions except that such
acts were taken before these Resolutions were certified, are hereby in all respects approved and
ratified.
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                                                    cr:~z~,~~icte~cc
Q~~t~: t~~t~~rcl-~   ~ , ~?01

          I, Ste~~he;n P. Jackson, J~•., the uix~~;rsi~nl~ci Chief Fi~7~~ncial C~~ffic~r of32E Pxc~c~uetior~s,.
I~LC, a timi~ict liability c~z~l~aa►~y or~;a~irzed ~~~1ci existing under tl~c_ lativs cif the St~t~ of Delati~~are
(tt~~e "Corn ~~nv"), .hez`c;t~y ~u~-tify t~s fellows:

          I.       I ~~ri fa~3~iii~~r wit11 the. facTs liet'ein c:ertifiecl, end i ai l dtily~ aritl~c~rizeci tt~ certify tl~e
~atnc, f71i liehalt'of'th~; C~7i~ipa~~y.

           2.        A~tac.heci h~ret~ is ~ t~~ue ~an~ cc>ri•~ct co~~y of t1~e resolratio~ls of the M~~~~~reTnezlt
~3c~az-ct c~i't1~e Col~~j~a~1y (tlle "Bo~~~t~t"}, witl~cnit exhibits, d~.~Iy adaptcc{ zt ~t ineetit~g of the Bc~arci ~n
Marc1~ ~~~, 201.

          3.       Stteiz resoltations lave ilot been a~ne~ldeci, altered; amlullc_ti, reseiilcled, car revoked;
as~c~ arc ill fell fc~i•ce ar~d effect a~ of tl~e date }~e~-ec~f. There exists na other s~l~l~sec7uent~re~o1«ti~n
c~~~ the ~3Qard relating to T11e inatter~ set f`oY-ti1 in tl~~; r~~~ll~tior~s ;~Ifach~;ci he~~eto.

           I~ V6'IT"JES~ '~VHEI~EOF, tl~e ut~cle;rs.i~ixed leas xecti~ted tlazs Gez~tificate as cif the date
tirsfi ~~s~itfien abo~~e.


                                                                                r~~..a..T.A ......,.__._.~~,.._.
                                                                   gY~             ~~` _~v_~~~      ~                  ,
                                                                   Na~nc:;: Ste~Ile~7 P. JackSc~~~; Jr:'".}
                                                                   Title: Chief Fir~~ncial Offic~~~~~w~._....~~
    Debtor name: Remington Outdoor Company, Inc., et al.                                                                                                                                                               ❑ Check if this is an amended filing
    United States Bankruptcy Court for the: District of Delaware
    Case number (if known):


Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Larsest Unsecured Claims and Are Not Insiders                                                                                                                                            12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter~9 case. Include claims which the debtor dlisputes. Do not include claims by any person or
entity who is an insider, as defined in 11 U.S.C.§ 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
creditor among the holders of the 30 largest unsecured claims.i

~~aFY1e Of CYCC~IiO~' c~pd ~QtY~~:l s.. t~ tYt ~Srli~(1~ ~~I~ttlE'E ~E'.~~~Ft}pnc; f3Ui1lbk~Y. JEiti     ~dtUf~' c~1 t~/L' C~31£7t~~C3Y   Ifif~~~~~(' I{~ C~~~Yi~    AC310UI'~1. f7~ 1f t75 Sr::Ut't C3 ~:~E~IiYl   ,.—,.,....~,..
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                                                                                                                                                                                                                                                                        Case 18-10694




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                                                                                                                                                                       tat claim, if partially               Deduction for value Unsecured Claim
                                                                                                                                                                    <'secured                                 f collateral or setoff
                                                                                                                                                                                                                                                                        Doc 1




                                                        PENSION BENEFIT GUARANTY
      PENSION BENEFIT GUARANTY                          CORPORATION, OFFICE OF THE
      CORPORATION -OFFICE OF THE                        GENERAL COUNSEL
1     GENERAL COUNSEL                                   PHONE: 202-326-4020 x4638                        Pension Liability                  Contingent,                                                                                   Undetermined
      1200 K STREET, N.W.                               FAX: 202-326-4112                                                                   Unliquidated
      WASHINGTON, DC 20005-4026                         EMAIL:
                                                        Neureiter.Kimberly@pbec.gov
       HE MARLIN FIREARMS                               THE MARLIN FIREARMS
      COMPANY EMPLOYEES'
                                                                                                                                                                                                                                                                        Filed 03/25/18




                                                        COMPANY EMPLOYEES'
      PENSION PLAN                                      PENSION PLAN
2     C/O MASSMUTUAL                                    C/O MASSMUTUAL                                   Pension Liability                                                                                                                Undetermined
                                                                                                                                            Contingent,
       TTN: NANCY HOULE                                 PHONE: 800-309-353,
      P.O. BOX 219035 MIP M227                                                                                                              Unliquidated
                                                        x2-2139
      KANSAS CITY, MO 64121-9035
                                                        FAX: XXX-XX-XXXX
                                                        EMAIL:
       ECO-BAT INDIANA LLC                              ECO-BAT INDIANA LLC
                                                                                                                                                                                                                                                                        Page 12 of 21




       ATTN: MIKE PARKER, SALES                         ATTN: MIKE PARKER,
3      MANAGER PO BOX 846010                            SALES MANAGER                                    Trade                                                                                                                           $3,106,870.14
       DALLAS, TX 75284-6010                            PHONE: 214-582-0295
                                                        FAX:214-831-4013
                                                        EMAIL:
                                                        ecobat.uk@ecobatgroup.com



1 This list does not include the agents for the Debtors' prepetition credit facilities or the indenture trustee for the Debtors' third lien notes as those entities' respective claims are secured by liens on
and/or security interests in the Debtors' assets.
 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                              Case number (if known)
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~iatnc at L~edite~r ;it~rd;nm~~ete maili»^ 3~am~, ti~i~p}~onc ns,r~36~F, and        N;vX~,r~ of,tl~e ciains~ror    in="d3c~~~ 'iF c(a(m    ~fnn~i~f of unsecured cia#m
adr3ress, inCf~~ - , ~ i•                  _ ~, i(~ddCr,Ss o~ cre~itf~r canta::k   ~exirr~{~Ie. tt~~e ~~E~tS;     ~i, ~r~r~Fir,~ent,      'l .-c: -laim is fial(y unsei:ured, €i€I r, saE~1y ur~5~eu~F_~S claim amCr~tr~~:4i
                                                                                    E~a~;K loans, ;                ur~llquidated~ ,~r       t -. E~ ~- ~~rti~l(./~ec,.~E~~d, fiillrito~~€ cialrn ar;~ounC and deducti~t~ fae
                                                                                    ~~ruressian~ise _~~s;          c~ispvtier~            >, .E_ .,~eoli~steral ;.~r'setc~t~ ~to c~l~u(ate u~isecur~d dairr~.
                                                                                    and ~;averr~n~ur
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 .~.                                                                                                                                      ''s+>~ur~d                      f co1l~t~rai or setoff
       ST MARKS POWDER             ST MARKS POWDER
       PO Box 643003               PHONE: 618-258-2000
 4     PITTSBURGH, PA 15264-3003   FAX:                                            Trade                                                                                                              $1,376,973.80
                                   EMAIL:
                                   stephen.faintich@gd-ots.com
       THE DOE RUN COMPANY         THE DOE RUN COMPANY
       Al-f"N: DEB MEDLEY          ANN: DEB MEDLEY
                                                                                                                                                                                                                               Case 18-10694




 5     75 REMITTANCE DRIVE, SUITE PHONE:314-453-7115                               Trade                                                                                                              $1,331,527.86
       2172 CHICAGO, IL 60675-2172 FAX: 314-453-7189
                                   EMAIL: ceo@doerun.com
       LUVATA KENOSHA INC          LUVATA KENOSHA INC
                                                                                                                                                                                                                               Doc 1




       ATTN: ANDREW STEVENS, MGR ATTN: ANDREW STEVENS, MGR
 6     MKT DEV                     MKT DEV                                         Trade                                                                                                                $928,021.49
       PO Box 200498               PHONE: 920-540-5970
       PITTSBURGH, PA 15251-0498   FAX: 920-749-3850
                                   EMAIL: andy.stevens@luvata.com
       GEODIS LOGISTICS LLC        GEODIS LOGISTICS LLC
       ATTN: VIVIAN HARRIS, A/R    ATTN: VIVIAN HARRIS, A/R
 7     MANAGER                     MANAGER                                         Trade                                                                                                                $895,514.30
       15604 COLLECTION CENTER     PHONE: 615-880-4865
                                                                                                                                                                                                                               Filed 03/25/18




       DRIVE                       FAX: 615-377-3977
       CHICAGO, IL 60693           EMAIL: vharris@ohl.com
                                            ART GUILD INC
        RT GUILD INC                        q~N: BERNADETTE SAN DONE,
        TTN: BERNADETTE SANDONE,            AR MANAGER
 8      R MANAGER                                                         Marketing Services                                                                                                            $894,069.05
                                            PHONE: 856-853-7500
       300 WOLF DRIVE WEST
                                            FAX: 856-686-4184
       DEPTFORD, NJ 08086
                                            EMAIL:
                                                                                                                                                                                                                               Page 13 of 21




                                            bsandone@artguildinc.com
       MICROBEST INC                        MICROBEST WC
       670 CAPTAIN NEVII~E DR               PHONE: 203-597-0355
 9     WATERBURY,CT06705                    FAX:203-597-0655              Trade                                                                                                                         $773,300.75
                                            EMAIL: maltberg@microbest.com




 Official Form 204                                 Chapter g1 or Chapter 9 Eases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                        Page 2
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                                                           Case number (if known)

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E          --- —                                                    ~                                                    ~                                                                   secured                                f collateral or setoff
       PMX INDUSTRIES INC CHICAGO                                    PMX INDUSTRIES INC CHICAGO
        TTN: JOE TALLERICO                                            AnN:10E TALLERICO
    10 5300 WILLOW CREEK DR SW                                        PHONE: 319-298-1339                                 Trade                                                                                                                                           $720,189.42
       CEDAR RAPIDS, IA 52404                                         FAX: 319-368-7721
                                                                      EMAIL: joe.tallerico@ipmx.com
       STEPHEN COULD                                                 STEPHEN COULD CORPORATION
       CORPORATION                                                    ANN: GRANTEE REDMOND
                                                                      PHONE: 973-428-1500
                                                                                                                                                                                                                                                                                                       Case 18-10694




    11  TfN: GRANTEE REDMOND                                                                                              Trade                                                                                                                                           $645,476.66
       1408-C ROSENEATH ROAD                                          FAX: 804-217-9046
       RICHMOND, VA 23230                                             EMAIL:
                                                                      blvollmer@stephengould.com
                                                                                                                                                                                                                                                                                                       Doc 1




                                                                    PRIORITY PACKAGING WET'N
       PRIORITY PACKAGING WET'N                                     DRY LUBES INC.
    12 DRY LUBES INC.                                                                           Trade                                                                                                                                                                     $563,002.51
                                                                    PHONE: 843-936-1660
       3260 INDUSTRY DRIVE, UNIT 5
                                                                    FAX: 843-969-1661
       N. CHARLESTON, SC 29418
                                                                    EMAIL:
                                                                    wwhjr@prioritypackaging.com
       MAGPUL INDUSTRIES CORP                                       MAGPUL INDUSTRIES CORP
       ATTN: DOUG SMITH                                             ATTN: DOUG SMITH -OPERATION
                                                                                                                                                                                                                                                                                                       Filed 03/25/18




    13 OPERATION MGR                                                MGR PHONE: 303-828-3460     Trade                                                                                                                                                                     $540,813.25
       PO BOX 664017                                                FAX: 303-828-3469
       DALLAS, TX 75266-4017                                        EMAIL: doug@magpul.com
       GENERAL DYNAMICS        GENERAL DYNAMICS
       ATTN: SUZIE TAILLEFER   ATTN: SUZIE TAILLEFER
    14 55, RUE MASSON          PHONE: 450-377-7835                                                                        Trade                                                                                                                                           $469,669.88
       VALLEYFIELD, OC 16S 4VP FAX: 450-377-7800
       Canada                  EMAIL:
                               suzie.taillefer@can.gd-ots.com
                                                                                                                                                                                                                                                                                                       Page 14 of 21




       A M CASTLE & CO /CASTLE A M CASTLE & CO /CASTLE
       METALS                  METALS
    15 11125 METROMONT PARKWAY PHONE: 847-349-3851                                                                        Trade                                                                                                                                           $454,578.78
       CHARLOTTE, NC 28269     FAX: 716-748-7788
                               EMAIL: jkanute@amcastle.com




Official Form 204                                                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                                 Page 3
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                                         Case number (if known)
                                                                                                                                                                                                  _ _...,.
~l3fY1C(17C1"~C'~ifOt 7tttf CbS"T1(,i(t'~iG' FTtaE~i31~ ~13Y'1C', ~~~~p~0E1~' t1kt3Tf~3E3', a'lf~            ~19.Lt3"@ Q~'~}~l' ~~•it171~.~~C   lt'j~3C$~L'i'~C€Ji0"Yl    '. k~i~"1QUE1Ynf tlt"t5t1CL1rtC~ cic3E+.Yt                   ___..
c~t~(~C~SS, iJ1C~ttt~~S1;y Z3(~Y ~0C~4                 CT'~1d{~'.i1C~f.~C85~ GY~C3'C~'C.{t~'OC t fa?7~~3t~   ~'A1(1l P(Qr C~~C~L' ,•[ `':       t5 C4i'Y$3ftj;~i'E~,      '. ~~ t~F L' C~1tRl fS ~U~~~ UIiS~C~t-F I~L'd, tl~~ 2fi t7n~y 11 t?S~CISP~f~ G~z~~t'i1 1111044 t1'~~.~~
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   OZARK DIE CASTING                                   ~Z/~RK DIE CASTING     ~mm ~                                                                               """'~                            ~~•            W.                            .
   ATTN: GARY LAND 1005                                ATTN: GARY LAND
16 LOFTING IND DR                                      PHONE: 636-629-4244           Trade                                                                                                                                                               $441,319.08
   SAINT CLAIR, MO 63077                               FAX: 636-629-2153
                                                       EMAIL: ozarkdie@sbcglobal.net
                                                       NATIONWIDE PRECISION
   NATIONWIDE PRECISION                                PRODUCTS CORP
                                                                                                                                                                                                                                                                                      Case 18-10694




   PRODUCTS CORP                                       Attn: Dan Nash -CEO
17 Attn: Dan Nash -CEO                                                                                       Trade                                                                                                                                       $437,939.33
                                                       PHONE: 224-419-6055
   PO BOX 842324                                                                                                                          '.
   BOSTON, MA 02284-2384                               FAX: 585-272-8982
                                                       EMAIL:
                                                                                                                                                                                                                                                                                      Doc 1




                                                       dan.nash@hnprecision.com
                                                       BRUDERER MACHINERY INC
       BRUDERER MACHINERY INC                          ATTN: DONNA KOTERBA
       ATTN: DONNA KOTERBA
1g     1200 HENDRICKS CAUSEWAY                        PHONE: 201-941-2121                                    Trade                                                                                                                                       $432,592.50
       RIDGEFIELD, N1 07657                           FAX: 201-886-2010
                                                      EMAIL:
                                                      dkoterba@brudereramerica~.com
   GERDAU MAC STEEL                                   GERDAU MAC STEEL                                                                   .'
                                                                                                                                                                                                                                                                                      Filed 03/25/18




   ATTN: R A. MONTGOMERY                              ATTN: R A. MONTGOMERY LDRI
19 LORI STROKO                                        STROKO                                                 Trade                                                                                                                                       $421,153.38
   25654 NETWORK PLACE                                PHONE: 330-382-1084
   CHICAGO , IL 60673                                 FAX: 517-782-8736
                                                      EMAIL:
   PRECISIONMATICS CO INC                             PRECISIONMATICS CO INC
   ATTN: CINDY                                        ATTN: CINDY
20 675 US HIGHWAY 20 WEST                             PHONE: 315-822-6324                                    Trade                                                                                                                                       $388,620.62
                                                                                                                                                                                                                                                                                      Page 15 of 21




   WINFIELD, NY 13491                                 FAX: 315-822-6944
                                                      EMAIL:
                                                      cindyk@precisionmatics.com
   SWANSON MARTIN &BELL                               SWANSON MARTIN &BELL
   ATTN: BRIAN W. BELL                                ANN: BRIAN W. BELL
21 330 NORTH WABASH AVE                               PHONE: 312-321-9100                                    Legal Counsel                ~                                                                                                              $387,023.30
   STE 3300                                           FAX: 312-321-0990                                                              '
   CHICAGO, IL 60611                                  EMAIL: bbell@smbtrials.com

Official Form 204                                               Chapter gl or Chapter 9 Eases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                               Page 4
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                               Case number (if known)
                                 -                                                                                  _                                             ...                                 »,
 N~a:,e of creditor arsd ~on~pi€>te n7ail'sn~; Na~3~n, Yele~ananc ;~~amber, ;sr~d      Ptat~,re of tl~e claim{for   €ndic~te if ci~3;m    AEnount of ~:a~~ecur4tl claim
~~~~1~css, inciudin~ z3~~ coe~r~               enaaiE'add€nss of ce'tditor c~rntac~    ex~rrzpi~,firarle debts,     ~~ can~ln~ei~t,       if the claim ~u fully ur~secufi~r~, fill 'in aniy urisecur~r3 ciairn arnn~ant, if
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{                                            ~                                         (arafessional Sarv€G.~~      r~i~puCed            -b~~l~~ of r.,nisaterai or set~t~ eo c,i; ulatn t~~nsec~red elairr~,
                                                                                      ~~nd goverr~m~it~

                                                                                      1                                                  !Total claim, if parti~3iy~C,~Qduct~ran for value Unsecured Ciairn
                                                                                                                        '~                secured                      f collateral or setoff
   DECIMETSALES WC                DECIMETSALES INC     u
   ATTN: BUTCH ANDERSON           ATTN: BUTCH ANDERSON
22 14200 JAMES ROAD               PHONE: 763-428-4321           Trade                                                                                                                                    $371,396.20
   ROGERS, MN 55374               FAX: 763-428-8285
                                  EMAIL: info@dsimn.com
     DANA SOTO, ET AL.            DANA SOTO, ET AL.
     C/O KOSKOFF KOSKOFF &        C/O KOSKOFF KOSKOFF & BIEDER,
23                                                              Litigation                                           Contingent, .
                                                                                                                                                                                                                                 Case 18-10694




     BIEDER, P.C.                 P.C.                                                                                                                                                                  Undetermined
     ATTN: JOSHUA D. KOSKOFF                                                                                         Unliquidated,
                                  PHONE: 203-583-8634
     350 FAIRFIELD AVENUE                                                                                            Disputed
                                  FAX: 203-368-3244
     BRIDGEPORT, CT 06604         EMAIL:
     IAN POLLARD, ET AL.          IAN POLLARD, ET AL.
                                                                                                                                                                                                                                 Doc 1




     C/O BOLEN, ROBINSON & ELLIS, C/O BOLEN, ROBINSON ~c ELLIS,
     LLP                          LLP                           Litigation                                           Contingent,
24   ATi~N: JON D. ROBINSON                                                                                          Unliquidated,                                                                      Undetermined
                                  PHONE: 217-429-4296
     202 SOUTH FRANKLIN                                                                                              Disputed
                                  FAX: 217-329-0034
     2ND FLOOR                    EMAIL:
     DECATUR, IL 62523            JROBINSON@BRELAW.COM
     ROBERT ZICK                  ROBERT ZICK
     C/O MONSEES & MAYER, P.C. C/O MONSEES & MAYER, P.C.
                                                                                                                                                                                                                                 Filed 03/25/18




     ATTN: TIMOTHY MONSEES                                      Litigation                                            Contingent,
                                  PHONE: 816-470-0013
25   4717 GRAND AVENUE                                                                                                Unliquidated,
                                  FAX: 816-361-5577                                                                                                                                                     Undetermined
     SUITE 820                                                                                                        Disputed
                                  EMAIL:
     KANSAS CITY, MO 64112
     JON BATTS                    JON BATTS
     C/O RAD lAW FIRM, P.C.       C/O RAD LAW FIRM, P.C.
     ATTN: ROBERT M. MEADOR                                     Litigation                                            Contingent,
                                  PHONE: 972-661-1111                                                                                                                                                   Undetermined
26   8001 JB1 FREEWAY,SUITE 300 FAX: 972-354-5651                                                                     Unliquidated,
                                                                                                                      Disputed
                                                                                                                                                                                                                                 Page 16 of 21




     DALLAS, TX 75251             EMAIL:
                                  EFILERM@RADLAWFIRM.COh1




Official Form 204                                   Chapter g1 or Chapter 9 Eases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                         Page 5
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                            Case number (if known)
                                                                                                                                                                                                                      .
  Name of cre~li~sar grid ~or~~piet~ ir~aiEin~ Narric, r;~l~>~ihone numhr•E. and '            ;Nature of tt~e clain~~tn~        Indicate if c1a€m      ' REr~vunt of unsecur~':-i ciai,T~         ~
(adrir~s~, in~lE,ei3s~,~;~i~ code               z~r~~aii'~~t:ts ess of cr~diCC,r ~ r~r~taci   ~~xan~p(~, trade d~hts,           is car~tit3~ent,          t :h~ claim isfu€!y ~~ssecutz;d, flli in only ~.s~iseLur~cJ Ciairrl ~moun~. df
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                                                                                              '~~roFession~il s~rv€~~~;         dis~itted                   a' ,~ ~if~ni#~st:c~r~€ flr 5~tof~to c~(~;,.l;ate tt!'~.secured claim.
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c                                                j                                            contr~cts~                                                                                 _._ ..
~                                  ~                                                                                                                      tom€ claim, s€partially C~~ducti~~ for value Unsecured Ala#m
                      __~_          ..._-                                                                                                  _           ~,e~ured                   'f cailateral or setoff     ,...
      SAMUELJOHNSON                 SAMUELJOHNSON
      THE LAW OFFICE OF DANIEL D. THE LAW OFFICE OF DANIEL D.
      GOROWITZ, III, P.C.            GOROWITZ, III, P.C.                                      Litigation
Z~    ATTN: DANIEL D. HOROWITZ                                                                                                    Contingent,                                                                      Undetermined
                                     PHONE: 832-460-5181
      2100 TRAVIS STREET, SUITE 280 FAX: 832-266-1478                                                           ~                 Unliquidated,
                                                                                                                            •     Disputed
      HOUSTON,TX 77002               EMAIL:
                                     DANIEL@DDHIAWERS.COM
                                                                                                                                                                                                                                           Case 18-10694




      ANTHONY GARNETT                ANTHONY GARNETT
      C/O O'CONOR, MASON &           C/O O'CONOR, MASON &BONE,
      BONE, P.C.                     P.C.
28                                                                                                                                Contingent,
      AT-fN: JESS W. MASON, ROBERT   PHONE:  713-647-7511
                                                                                               Litigation               ~         Unliquidated,                                                                    Undetermined
                                                                                                                                                                                                                                           Doc 1




      D. O'CONOR & 1. KEVIN RALEY FAX:713-647-7512
                                                                                                                                  Disputed
      1616 5. VOSS ST., SUITE 200    EMAIL:
      HOUSTON, TX 77057             JMASON@OMBTXLAW.COM;
                                     BOCONOR@OMBTXLAW.CQM;
                                     KRALEY@OMBTXLAW.COM
      MICHELLE LEFEBRE               MICHELLE LEFEBRE                                                                             Contingent,
      LEONARD A. SIUDARA PC          LEONARD A. SIUDARA PC                                                                        Unliquidated,
Z9    ATTN: LEONARD A. SIUDARA       PHONE: 248-417-7300                                      Litigation                          Disputed                                                                         Undetermined
      5865 ANDOVER CT                FAX: 248-641-8141
                                                                                                                                                                                                                                           Filed 03/25/18




      TROY, MI 48098                 EMAIL: BUDATLAW@MSN.CJM
      PRECIOUS SEGUIN                PRECIOUS SEGUIN
      C/O MONSEES & MAYER, P.C. C/O MONSEES & MAYER, P.C.                                                           ~                                                                                              Undetermined
30    ATTN: TIMOTHY MONSEES                                                                   Litigation                          Contingent,
                                     PHONE: 816-470-0013
      4717 GRAND AVENUE              FAX: 816-361-5577                                                                            Unliquidated,
      SUITE 820                                                                                                                   Disputed
                                     EMAIL:
      KANSAS CITY, MO 64112
                                                                                                                                                                                                                                           Page 17 of 21




Official Form 204                                        Chapter 11 or Chapter 9 Lases: List of Creditors Who Have the.30 Largest Unsecured Claims                                                                              Page 6
                   Case 18-10694          Doc 1      Filed 03/25/18     Page 18 of 21




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------- X

In re:                                                         Chapter 11

32E PRODUCTIONS,LLC,                                           Case No. 18-        O

                                  Debtor.

---------------------------------------------------------- X

                            LIST OF EQUITY SECURITY HOLDERS

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
is a list of entities holding an interest in the above-captioned debtor.

   :~~~~~ a~c~ L~~~ ~na~~rr~ Acic~~€ass car 'lac€: ~#       ~~~~ re d~           ~~~~~~~t of ~n~er~~t
                ~czsines~ cif I~It~lc~~~•             ~ ; Tr~t~:re4t ~T~icl              i~lti

  Remington Arms Company,LLC                                      Membership               o
  870 Remington Drive, P.O. Box 700                                                     100/o
                                                                    Interest
  Madison, NC 27025
                    Case 18-10694           Doc 1      Filed 03/25/18        Page 19 of 21




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWA£~E



In re:                                                              Chapter 11

32E PRODUCTIONS,LLC,                                                Case No. 18-             (~



         Debtor.
-------------------------------------------------------------   x

                             CERTIFICATION OF CREDITOR MATRIX

               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
and its affiliated debtors in possession (collectively, the "Debtors")1 hereby certify that the
CNeditor Matrix submitted herewith contains the names and addresses of the Debtors' creditors.
To the best of the Debtors' knowledge, the Creditor Matrix is complete, correct, and consistent
with the Debtors' books and records.

               The information contained herein is based upon a review of the Debtors' books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the CNedito~ MatNix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims;(2) an acknowledgement of the allowability of
any listed claims; and/or(3)a waiver of any other right or legal position of the Debtors.




' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc.(4491); FGI Holding Company, LLC(9899); FGI
Operating Company, LLC (9774); Remington Arms Company,LLC(0935); Barnes Bullets, LLC(8510); TMRI,
Inc.(3522); RA Brands, L.L.C.(1477); FGI Finance, Inc.(0109); Remington Arms Distribution. Company, LLC
(4655); Huntsville Holdings LLC (3525); 32E Productions, LLC(2381); Great Outdoors Holdco, LLC(7744); and
Outdoor Services, LLC(2405). The principal offices of Debtor Remington Outdoor Company Inc., the top-level
holding company, are located at 870 Remington Drive, Madison, NC 27025.
                    Case 18-10694        Doc 1       Filed 03/25/18      Page 20 of 21




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                ---------------------------------------- X

In re:                                                        Chapter 11

32E PRODUCTIONS,LLC,                                           Case No. 18-            (_)

                                Debtor.

                                ----------------------- X


                          CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following is a list of any corporation, other than a governmental unit, that directly or

indirectly owns 10% or more of any class of equity interests in the above-captioned debtor.
                                                                     _                                  _   ._ ~
                                                             r _                                    -
         13etc~~•               l~s'~•ect ~~~z~c~~~{s~                     I~€~ir~~t €~~~~~~~(:,~

32E Productions,          Remington Arms                      FGI Operating Company,LLC
LLC                       Company,LLC                         870 Remington Drive
                          870 Remington Drive                 P.O. Box 700
                          P.O. Box 700                        Madison, NC 27025
                          Madison, NC 27025
                                                              F'GT Holding Company,LLC
                                                              870 Remington Drive
                                                              P.O. Box 700
                                                              Madison, NC 27025

                                                              Remington Outdoor Company,Inc.
                                                              870 Remington Drive
                                                              P.O. Box 700
                                                              Madison, NC 27025

                                                              R2 Holdings, LLC
                                                              875 Third Avenue, 14th Floor
                                                              New York,NY 10022
                                 Case 18-10694              Doc 1          Filed 03/25/18                  Page 21 of 21




 oebtar Name 32E {~I'OdUCtions, LLC
 United States Bankruptcy Coart fir the:                          Distract of    Delaware
                                                                                ~s~~e~
 Case number (~fknown):




C)fficial Form 202
;~                                 •                      , ~                                        .~

An individual wrho is authorized to act on behal# of anon-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and Itabilities, any other document thak requires a deciaratiort fhai is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the @ebEnr, the icisntity of 4he
document, and the date. Bankruptcy Rules 1008 and 9011.
                                                                                                                                  by fraud in
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or propeRy
connection with a bankruptcy case can result in fines up to $500,0 0 or imprisonment for up to 2d years, or both. 18 U.S.C. §§ 152, 1341,
i519, and 3571.



            Deelaration and signature


                                                                                                                                          or
          am the president, another o~cer, or an authorized agent of the corporation: a member or an authorized agent of the partnership;
         another individual serNing as a representative of the debtpr in this case.
          have examined the information in the documents checked below and i have a reasonable belief that the information is true and correct:


        0 Schedule A/8: Assets--Real and Personal Property (Official Form 206A/B)

        0 Schedule D.~ Creditors Who Have Claims Secured by Proparty (Official Form 2Q6q)

        0 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 2QSE/F)

               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑ Schedula N: Codebtors (Official Form 206H)

         ❑ Summary ofAssets and Liabilities for Non-Individuals (Official Forrn 2068um)

               Amended Schedule,

                                                                                                                                   Insiders (Official Form
               Chapter 17 ar Chapter 3 Casasr Cansolydated List of Creaitors Who Have the 30 Largest Unsecured Claims anti Are Not
                204)
               Other document that requires a declaration L'Ist ~f EgUity SBCUrity HOIde1's; Corporate Qwnership Statement;
                                                                                                                                             __
                                                           Certification of Creditor Matrix


          declare under penalty of perjury thafthe foregoing is true and correct.


         Executed on ~/              //                   x          ~~         ~~,„~'~____~
                                                                                          —__,-~...._....._._.,._                    ~_.m..—
                          MM / DD / YYYY                       Signature of individual signing on behafF of de tar

                                                                                                             ~.,
                                                               Stephen P. Jacksfln, Jr:
                                                               Printed name

                                                                Chief Financial officer
                                                               PasiUan or relaticroship to tlebtor



Official Forrn 202                         peciaration Untter Penalty of Perjury for Non-Individual Debtors
